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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
LS                                                 271 Cadman Plaza East
F. #2024R00485                                     Brooklyn, New York 11201




                                                   April 28, 2025

By ECF and E-mail

Saul Warren Bienenfeld
Bienenfeld Law
680 Central Avenue, Suite 108
Cedarhurst, NY 11516

Jeffrey H. Lichtman
Law Offices of Jeffrey Lichtman
441 Lexington Avenue, Suite 504
New York, NY 10017

Barry Kamins
Aidala, Bertuna & Kamins PC
546 Fifth Avenue, Sixth Floor
New York, NY 10036

              Re:     United States v. Jacob Israel Walden
                      Criminal Docket No. 24-521 (GRB)

Counsel:

                Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, enclosed please
find the government’s production of additional discovery in the above-captioned case. The
discovery has been transmitted by USAfx, a file-sharing system. Please promptly download the
materials and confirm in writing to the government that you were able to do so. The government
also requests reciprocal discovery from the defendant.

               Please note that, as before, the enclosed material is considered Sensitive
Discovery Material (“SDM”) as that term is defined in the January 24, 2025 Protective Order in
this matter. See ECF No. 40. As such, PDF files containing SDM have been marked as
“Sensitive” on each page, and non-PDF files have been marked as “Sensitive” in the
corresponding file folder or filename. In addition, certain documents have been redacted to
remove the personally identifiable information of known or suspected minor victims.
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I.     The Government’s Discovery

       A. Documents and Tangible Objects

               Please find enclosed the following additional materials:

                   •   Subpoena returns from Google, which are Bates-numbered DOJ_0000763
                       to DOJ_0000937.

                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                                                     Very truly yours,

                                                     JOHN J. DURHAM
                                                     United States Attorney

                                             By:      /s/ Leonid Sandlar
                                                     Leonid Sandlar
                                                     Trial Attorney
                                                     (718) 254-6879

Enclosures (via USAfx link)

cc:    Clerk of the Court (GRB) (by ECF) (without enclosures)




                                                 2
